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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

Catherine Cole, Barbara Koostra, Mary-
Ann Sontag Bowman, and Rhondie                        CV-21-88-M-BMM
Voorhees, individually and on behalf of
all others similarly situated,

             Plaintiffs,                        Plaintiffs’ Brief in Response to
                                                Defendants’ Motion for Partial
      vs.                                        Dismissal (Pursuant to Rule
                                                            12(b)(6))
Montana University System, University
of Montana-Missoula, and John Doe
Defendants 1-50,

             Defendants.

      Plaintiffs, Catherine Cole, Barbara Koostra, Mary-Ann Sontag Bowman, and

Rhondie Voorhees, individually and on behalf of all others similarly situated, by

and through their counsel of record, Hillary P. Carls and Sherine D. Blackford of

Blackford Carls P.C., files their brief in response to Defendants’ Motion for Partial

Dismiss [sic] (Pursuant to Rule 12(b)(6)) (Oct. 18, 2021) (Doc. 8) and Defendants’
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Brief in Support of Motion for Partial Dismissal (Oct. 18, 2021) (Doc. 9)

(collectively “Motion to Dismiss”).

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                                    Introduction

       Title IX of the Education Amendments of 1972 (“Title IX”) provides:

       No person in the United States shall, on the basis of sex, be excluded
       from participation in, be denied the benefits of, or be subjected to
       discrimination under any education program or activity receiving
       Federal financial assistance ….

20 U.S.C. § 1681 (emphasis added). The plain language of Title IX prohibits

gender discrimination.

       This lawsuit is about the persistent culture and practice at the University of

Montana—Missoula (“UM”) that discriminates against women and denies women

the benefits of UM’s educational programs “on the basis of sex.” This lawsuit is

about UM and the Montana University System (“MUS”) (collectively

“Defendants”) violating Title IX’s broad sweeping prohibition of gender

discrimination at educational institutions. See Jackson v. Birmingham Bd. of Educ.,

544 U.S. 167, 173 (2005).

       While the Defendants attempt to minimize and individualize its impact on

Mary-Ann Sontag Bowman, PhD., the Defendants have discriminated against Dr.

Sontag Bowman “on the basis of sex” denying her benefits at UM. The factual

disputes raised by the Defendants should be resolved by a jury, not a motion to

dismiss.

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                              Procedural Background

      On August 4, 2021, Plaintiffs filed their Complaint & Jury Trial Demand

(Aug. 4, 2021) (Doc. 1). On August 19, 2021, Plaintiffs filed their First Amended

Complaint, Request for Class Certification, & Jury Trial Demand (Aug. 19, 2021)

(Doc. 5) (“Am. Compl.” or “Amended Complaint”). In addition to the subject

Motion to Dismiss, on October 18, 2021, Defendants filed Defendants’ Answer

and Jury Demand (Oct. 18, 2021) (Doc. 10).

      A hearing on the Motion to Dismiss is scheduled for December 1, 2021,

along with the preliminary pretrial conference.

                                   Legal Standard

      When considering a “dismiss[al] under Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted, ‘[a court]

must assume the truth of the material facts as alleged in the complaint.” Jackson,

544 U.S. at 171 (quoting case). The Ninth Circuit has explained:

      Rule 12(b)(6) motions are viewed with disfavor. Dismissal without
      leave to amend is proper only in “extraordinary” cases. When ruling
      on a 12(b)(6) motion, the complaint must be construed in the light
      most favorable to the plaintiff. The court must accept as true all
      material allegations in the complaint, as well as any reasonable
      inferences to be drawn from them.

Broam v. Bogan, 320 F.3d 1023, 1028 (9th Cir. 2003) (emphasis added) (citations

omitted). “Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain

statement of the claim showing that the pleader is entitled to relief,’ in order to
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‘give the defendant fair notice of what the … claim is and the grounds upon which

it rests.’” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citations

omitted). To survive Rule 12(b)(6), a complaint must plead sufficient “fact[s] to

raise a reasonable expectation that discovery will reveal evidence of illegal

[conduct]. And, of course, a well-pleaded complaint may proceed even if it strikes

a savvy judge that actual proof of those facts is improbable, and ‘that a recovery is

very remote and unlikely.’” Id. at 556 (quoting case).

      The Ninth Circuit explains that “a district court should grant leave to amend

even if no request to amend the pleading was made, unless it determines that the

pleading could not possibly be cured by the allegation of other facts.” Lopez v.

Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (quoting case).

      [L]eave to amend should be freely granted “when justice so requires.”
      Although Rule 15(a) gives the trial court discretion over this matter,
      we have repeatedly stressed that the court must remain guided by “the
      underlying purpose of Rule 15 … to facilitate decision on the merits,
      rather than on the pleadings or technicalities.”

Id. at 1127 (citations omitted).

                               Complaint Allegations

      Plaintiffs allege that UM “fostered a ‘good ol’ boys club’ culture” favoring

men, to the exclusion of women, which created a discriminatory and hostile

educational environment to the detriment of all Plaintiffs, including Dr. Sontag

Bowman, and putative class members. Am. Compl. ¶¶ 14, 23; see, e.g., Jessica


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Nordell, This Is How Everyday Sexism Could Stop You From Getting That

Promotion, N.Y. TIMES, Oct. 14, 2021, available at

https://www.nytimes.com/interactive/2021/10/14/opinion/gender-bias.html. Even

when presented with ample reason to learn and heal from the past, and improve its

relationship with and treatment of women, UM chose leadership that continued the

disparate treatment of women. See id. ¶¶ 25-45. UM’s actions created an

environment where: (a) success for women is dictated by appearance. See id. ¶ 35;

(b) women are encouraged to remain quiet and not criticize, rather than speak truth

to power, or face potential consequences. See id. ¶¶ 36-37; (c) women are

“unreasonably contradicted and questioned.” Id. ¶ 38; and (d) women are

prohibited from receiving leadership opportunities. See id. ¶ 39.

      Dr. Sontag Bowman, like the other named Plaintiffs and putative class

members, experienced and spoke out about UM’s culture and practices of gender

discrimination. See id. ¶¶ 96-101. Dr. Sontag Bowman has long been vocal about

UM’s gender discrimination, including, but not limited to: (a) hiring a young male

president, who presented the Defendants with an inaccurate resume; and (b)

promoting male applicants without considering other qualified candidates or a

diversity plan. See id. ¶¶ 96, 100.

      Defendants discriminated against Dr. Sontag Bowman when UM’s

leadership encouraged and selected the only male faculty member to continue to


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lead the School of Social Work. See id. ¶ 95.1 The consequence of UM’s decision

was that “women need not apply….” See id. ¶ 96. UM discouraged female

applicants from applying by preemptively selecting their preferred male chair. See

id. ¶ 97. Dr. Sontag Bowman not only advocated for herself when alerting UM to

its discriminatory conduct, Dr. Sontag Bowman advocated for her female

colleagues. See id. ¶ 96.

        Despite UM prohibiting Dr. Sontag Bowman from advancing in her career,

she still faces the threat of losing her job for speaking out. See id. ¶ 102. To

remain employed, Dr. Sontag Bowman must accept that her career has hit a brick

wall. To remain employed, Dr. Sontag Bowman must accept that she will finish

her profession at an institution that prematurely and wrongly limited her

opportunities to lead. To remain employed, Dr. Sontag Bowman must accept that

she has been, and continues to be, wrongly called a “bully” because UM fails to

properly compensate her. See id. ¶ 104. While Dr. Sontag Bowman’s male

colleagues professionally thrive at UM, she cannot. See id. ¶¶ 106-07.

        The Defendants subjected Dr. Sontag Bowman, as well as the named

Plaintiffs and putative class members, “to unwelcome harassment, retaliation, and

humiliation, ‘on the basis of sex,’ with such severity, pervasiveness, and objective



1
 In 2020, the School of Social Work had only one male faculty member. The School of Social Work now has two
male faculty members. See University of Montana, College of Health, School of Social Work, About Us, Faculty
and Staff, available at https://health.umt.edu/socialwork/About%20Us/Faculty%20and%20Staff/default.php.

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offensiveness that it created an abusive work environment and interfered, and

continues to interfere, with [her] work performance.” Id. ¶ 185. UM failed to

remedy the hostile environment. See id. ¶¶ 189-90, 195. The Defendants

subjected Dr. Sontag Bowman to “adverse employment actions…” that her male

colleagues did not experience—UM invited a male colleague to lead, while Dr.

Sontag Bowman and the remainder of her female department were overlooked. See

id. ¶¶ 95, 192, 193.

      While the Defendants seek to isolate, individualize, and minimize Dr.

Sontag Bowman’s allegations, Defendants discriminated against her, retaliated

against her, and created a hostile work environment for her.

                                     Argument

      Title IX provides:

      No person in the United States shall, on the basis of sex, be excluded
      from participation in, be denied the benefits of, or be subjected to
      discrimination under any education program or activity receiving
      Federal financial assistance ….

20 U.S.C. § 1681 (emphasis added). The United States Supreme Court has

explained that Title IX “broadly prohibits a funding recipient from subjecting any

person to ‘discrimination’ ‘on the basis of sex.’” Jackson, 544 U.S. at 173. “Not

only the words and history of Title IX, but also its subject matter and underlying

purposes, counsel implication of a cause of action in favor of private victims of

discrimination.” Cannon v. University of Chicago, 441 U.S. 677, 709 (1979).
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      In Jackson, the United States Supreme Court explained “the text of Title IX

prohibits a funding recipient from retaliating against a person who speaks out

against sex discrimination, because such retaliation is intentional ‘discrimination’

‘on the basis of sex.’” 544 U.S. at 178; see also Emeldi v. University of Oregon,

698 F.3d 715, 724 (9th Cir. 2012). “Retaliation against a person because that

person has complained of sex discrimination is another form of intentional sex

discrimination encompassed by Title IX’s private cause of action. Retaliation is, by

definition, an intentional act. It is a form of ‘discrimination’ because the

complainant is being subjected to differential treatment.” Jackson, 544 U.S. at 173-

74 (citing cases). “[R]etaliation claims extend to those who oppose discrimination

against others.” Id. at 180. “[D]iscrimination means ‘less favorable’ treatment.”

Id. at 174 (quoting case). “‘Discrimination’ is a term that covers a wide range of

intentional unequal treatment; by using such a broad term, Congress gave the

statute a broad reach.” Id. at 175 (citing case).

      It is clear that Dr. Sontag Bowman’s claims survive with a simple reading of

Title IX. Title IX prohibits discrimination “on the basis of sex.” Discrimination is

“less favorable” and “unequal” treatment than others. Here, UM recruited and

invited a male candidate to lead the School of Social Work. UM did not afford this

favorable treatment to the female members of the School of Social Work, including

Dr. Sontag Bowman. See Am. Compl. ¶¶ 92-98. The women were treated less


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favorably, and unequal, to the men. Under the plain language of Title IX, Dr.

Sontag Bowman’s allegations state a cognizable claim of gender discrimination.

   1. Adverse Action

      The Defendants attempt to recharacterize and ignore the totality of the

Amended Complaint’s allegations, arguing that Dr. Sontag Bowman’s claim fails

because she did not apply for a position after the Defendants had recruited and

selected their chosen male candidate. Ultimately, the Defendants solely argue that

Dr. Sontag Bowman did not experience an adverse action necessary to prove

discrimination and retaliation because she did not apply for the position she would

not have received. Defendants effectively argue that women are responsible for the

injustice they experience. Title IX law does not support this conclusion.

      Under Title IX, the Plaintiffs, including Dr. Sontag Bowman, bring claims

under the plain language of the statute based on UM’s discrimination, retaliation,

and a hostile work environment.

      “[A] prima facie case of discrimination” requires a plaintiff to show: “that

‘(1) [s]he is a member of a protected class; (2) [s]he was qualified for h[er]

position; (3) [s]he experienced an adverse employment action; and (4) similarly

situated individuals outside h[er] protected class were treated more favorably.”

Freyd v. University of Oregon, 990 F.3d 1211, 1228 (9th Cir. 2021) (emphasis

added) (quoting case).

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      “[A] prima facie case of retaliation” requires a plaintiff to show: “(a) that he

or she was engaged in protected activity, (b) that he or she suffered an adverse

action, and (c) that there was a causal link between the two.” Emeldi, 698 F.3d at

724 (emphasis added) (citing case). Importantly, “a plaintiff need only make a

minimal threshold showing of retaliation.” Id.; see also Finch v. Xavier

University, 689 F.Supp.2d 955, 965 (S.D. Ohio 2010) (“The burden of establishing

a prima facie case in a retaliation action is not onerous, but one easily met.”).

      Both claims for discrimination and retaliation under Title IX require Dr.

Sontag Bowman to allege that the Defendants subjected her to an adverse action.

Dr. Sontag Bowman has experienced, and continues to experience, adverse actions

due to the conduct of the Defendants.

       “An adverse employment action need not rise to the level of discharge to be

actionable. It must, however, at a minimum, impair or potentially impair the

plaintiff’s employment in some cognizable manner.” Nelson v. University of Maine

System, 923 F.Supp. 275, 281 (D. Maine 1996).

      For discrimination claims, “[a]n adverse employment action is a
      significant change in employment status, such as hiring, firing, failing
      to promote, reassignment with significantly different responsibilities,
      or a decision causing a significant change in benefits.” “[A] mere
      inconvenience or an alteration of job responsibilities” does not qualify
      as an adverse action.

      For retaliation claims, “a plaintiff must show that a reasonable
      employee would have found the challenged action materially adverse,
      which in this context means it well might have dissuaded a reasonable
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      worker from making or supporting a charge of discrimination. The
      action must be materially adverse “to separate significant from trivial
      harms,” such as “petty slights, minor annoyances, and simple lack of
      good manners….”

Hiatt v. Colorado Seminary, 858 F.3d 1307, 1316 (2017) (citations omitted); see

also Emeldi, 698 F.3d at 726.

      It is an objective standard. But “[c]ontext matters. The real social
      impact of workplace behavior often depends on a constellation of
      surrounding circumstances, expectations, and relationships….” “[A]n
      ‘act that would be immaterial in some situations is material in
      others.’”

Reece v. Pocatello/Chubbuck School Dist. No. 25, 713 F.Supp.2d 1222, 1229 (D.

Idaho 2010) (quoting Burlington Northern and Santa Fe Ry. Co. v. White, 548 U.S.

53, 68, 69 (2006)).

      Here, Dr. Sontag Bowman was a qualified candidate for chair of the School

of Social Work. As a female, she is a member of a protected class. Rather than

have an open application process where no candidate for chair received preferential

treatment, Defendants chose to not seriously consider other applicants. Instead,

Defendants recruited and selected the only male faculty member for chair of the

School of Social Work. See Am. Compl. ¶ 95. As a result of Defendants’ selection

and preferential treatment of the only male faculty member, other applicants (all

female) were discouraged. As alleged, Dr. Sontag Bowman experienced an adverse

action because the Defendants did not afford her the opportunity to apply and

objectively be considered for the chair position. See id. ¶¶ 95-98. Defendants
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cannot fault Dr. Sontag Bowman for not applying for the position when

Defendants had already determined another person would receive the position. As

alleged, UM afforded her male colleague an opportunity and benefit that it did not

provide women.

      It is a materially adverse action to lose the opportunity for final promotions

in a professional’s career. Losing leadership opportunities is not a simple

inconvenience, trivial, petty slight, minor annoyance, or lack of good manners. A

reasonable tenured professor would be dissuaded from challenging gender

discrimination if the consequence was giving up the opportunity for promotion and

to be chair. Losing the option and opportunity to lead her department is a

significant change, equivalent to a failure to promote. At the end of her career, Dr.

Sontag Bowman knows that she will have no future promotions. See id. ¶¶ 98, 103,

106-107. It is a materially adverse action to sacrifice promotions at any point in a

career, but especially at the end when you should benefit from receiving leadership

positions after a long dedication to the profession. See id. ¶ 2. The Defendants

failure to provide equal opportunities for career promotion constitutes an adverse

action.

      UM has retaliated against Dr. Sontag Bowman by creating a brick wall in

her career. Dr. Sontag Bowman understands that the retaliation can get worse,

with UM using pretext to terminate her position and/or alter her duties, threatening


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her financial and employment security. To date, UM continues its adverse actions

against Dr. Sontag Bowman, often forcing her to fight simply to be paid. See id. ¶

104. Because of UM’s “good ol’ boys club” culture and practices of gender

discrimination that adversely impact women across UM, Dr. Sontag Bowman has

experienced discrimination and retaliation, and reasonably fears the persistent

threat of future retaliation. See id. ¶¶ 36-45, 94-104.

      Defendants rely on Burton v. Board of Regents of University of Wisconsin

System, analogizing that the criticisms and withdrawn support for initiatives

experienced in Burton equate to Dr. Sontag Bowman’s experience, making

dismissal of her claims appropriate. However, the Burton plaintiff received tenure

and a public ceremony celebrating her work, and could “point to no material

consequences resulting from [the alleged incident].” 851 F.3d 690, 696-97, 699

(7th Cir. 2017). The Burton plaintiff received a promotion, an opportunity UM

denied Dr. Sontag Bowman. Here, UM’s selection of the only male faculty

member for chair is one of the many examples of UM’s discriminatory culture

favoring men to the detriment of women. In doing so, UM limited and

discouraged Dr. Sontag Bowman’s opportunities for promotion. Dr. Sontag

Bowman did not have a real choice to apply because doing so was futile.

      Defendants also cite Cavalier v. Catholic University of America, analogizing

that not screening a documentary, adjusting sexual assault advocacy events, and


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not hiring the student’s desired Deputy Title IX Coordinator to the failure to

promote Dr. Sontag Bowman to chair. Such analogy lacks merit. Logically,

altering advocacy efforts is far different from failing to promote. Further, the

Cavalier court explained that these actions would not discourage reporting an

alleged rape. 306 F.Supp.3d 9, 36-37 (D.D.C. 2018). To the contrary, Dr. Sontag

Bowman’s lost opportunity for promotion and to professionally lead the School of

Social Work is a material adverse action, that would discourage others from

reporting gender discrimination.

      Similar to Emeldi, Dr. Sontag Bowman’s “adverse action bears analogy to

the concept of constructive discharge, in which a retaliating employer creates

working conditions so ‘extraordinary and egregious [as] to overcome the normal

motivation of a competent, diligent, and reasonable employee to remain on the

job.”’ 698 P.3d at 726 (quoting case). “To established constructive discharge, a

plaintiff must show that she had no other choice but to quit.” Hiatt, 858 F.3d at

1318 (quoting case). Here, UM created conditions so extraordinary and egregious

in recruiting and selecting the male candidate for chair, that no competent, diligent,

and reasonable professor would apply for a filled position. UM constructively

failed to promote Dr. Sontag Bowman—she had no other choice but to not apply.

      Defendants cite Guimaraes v. SuperValu, Inc., arguing that Dr. Sontag

Bowman cannot pursue a case of anticipatory retaliation. First, Dr. Sontag


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Bowman has been retaliated against for her complaints of gender discrimination.

Any allegation similar to anticipatory retaliation is based on her understanding that

Defendants’ retaliatory adverse actions could increase, evidenced by UM’s track

record in its treatment of women who speak out. Second, the Defendants’ reliance

on Guimaraes is misplaced. In Guimaraes, the adverse action (requested

disciplinary proceedings) occurred before the plaintiff “engaged in protected

conduct” (discrimination complaints). See 674 F.3d 962, 978-79 (8th Cir. 2012).

The Second Circuit did not analyze this case under an anticipatory retaliation

context, but rather the actual timing of the events. See id. Guimaraes is silent on

Defendants’ alleged theory of anticipatory retaliation and it does not apply here.

         Regardless, Dr. Sontag Bowman was retaliated against after her long history

of identifying and alerting the Defendants to gender discrimination. This is

evidenced by the continued disparate treatment she receives in comparison to her

male colleagues, and the career brick wall UM has put in front of her.

Nevertheless, as alleged, the persistent threat of additional retaliation continues

today.

         As with the claims of the other Plaintiffs and putative class members, Dr.

Sontag Bowman has suffered an adverse employment action, while similarly

situated men were treated favorably. The facts make clear that UM discriminated

and retaliated against Dr. Sontag Bowman.


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   2. Breach of Covenant of Good Faith and Fair Dealing

      Dr. Sontag Bowman’s claim for breach of the covenant of good faith and

fair dealing is separate from her Title IX claim and not a derivative claim. The

breach of covenant claim is based on the Plaintiffs’ and putative class members’

good faith belief that the Defendants would comply with Title IX’s prohibition of

gender discrimination in their contractual relationship with the Plaintiffs and

putative class members. Like the other Plaintiffs and putative class members, Dr.

Sontag Bowman has performed her duties at UM. Despite this, the Defendants

failed to act in good faith in complying with their obligations to not discriminate

“on the basis of sex.” Stated another way, the Defendants breached Plaintiffs’ and

putative class members’ good faith belief that they would not be subject to gender

discrimination.

   3. Discriminatory Practice or Policy & Hostile Environment

      Defendants conclusory state that Dr. Sontag Bowman did not allege a

discriminatory practice or policy, or a hostile environment. However, the Amended

Complaint includes these allegations. See, e.g., Am. Compl. ¶¶ 185-195. Title IX

“broadly prohibits a funding recipient from subjecting any person to

‘discrimination’ ‘on the basis of sex.’” Jackson, 544 U.S. at 173. A hostile

environment is established when, because of sex, a plaintiff “was subjected to

unwelcome conduct that was ‘sufficiently severe or pervasive to alter the

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conditions of [her] employment and create an abusive working environment.’”

Campbell v. Hawaii Department of Education, 892 F.3d 1005, 1016 (9th Cir.

2018) (quoting case).

      The Amended Complaint comprehensively alleges Defendants’

discriminatory practices (culture) and the resulting hostile environment damaged

Dr. Sontag Bowman, the other Plaintiffs, and putative class members. See, e.g.,

Am. Compl. ¶¶ 2, 23, 36. Given that Defendants do not substantively explain their

conclusion regarding the claims of discriminatory practice and hostile

environment, to the extent those claims are subject to the Motion to Dismiss, such

request should be denied.

   4. Declaratory and Injunctive Relief

      The Defendants imply that the declaratory and injunctive relief requested by

the Plaintiffs and putative class members is only appropriate for Dr. Sontag

Bowman’s claim because she is the only named Plaintiff still employed at UM.

However, Defendants fail to explain why the declaratory and injunctive relief is

contingent on Dr. Sontag Bowman’s claims.

      Declaratory and injunctive relief are available to all Plaintiffs and putative

class members in this matter. See Am. Compl. ¶¶ 167-170; Fed. R. Civ. P.

23(b)(2). Federal Rule of Civil Procedure 57 permits a Court to issue a declaratory

ruling determining “the rights and other legal relations of any interested party

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seeking such declaration….” 28 U.S.C. § 2201(a); Fed. R. Civ. P. 57. Federal Rule

of Civil Procedure 65 permits a Court to issue an injunction as a form of equitable

relief requiring a party to refrain from performing a particular act or ordering a

party to perform a particular act. See Fed. R. Civ. P. 65. While Rule 65 allows a

party to file a motion for a preliminary injunction or temporary restraining order

pending trial, no such procedure is required when the relief sought is a final

injunction. See id.; Fed. R. Civ. P. 23(b)(2).

       Title IX affords plaintiffs both injunctive and monetary relief. See Franklin

v. Gwinnett County Public Schools, 503 U.S. 60, 76 (1992); Yusuf v. Vassar

College, 35 F.3d 709, 714 (2nd Cir. 1994). Further, relative to the putative class,

injunctive and declaratory relief are important considerations and remedies when

certifying and defining the class. See Fed. R. Civ. P. 23(b)(2); Am. Compl. ¶¶ 167-

170.

       In Ollier v. Sweetwater Union High School District, the Ninth Circuit held

that a court may issue an injunction based on past Title IX violations, even if the

school could prove that it complied with Title IX at the time of trial. 768 F.3d 843,

864 (9th Cir. 2014). Additionally, the Ninth Circuit explained that “[t]he plaintiff

class included future students, who were protected by the injunction” and the court

found “no evidence” that the school had “addressed or implemented policies or

procedures designed to cure the myriad areas of general noncompliance with Title


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IX.” Id. (emphasis in original). Thus, the district court appropriately issued an

injunction requiring the school to comply with Title IX.

      Similarly here, even assuming Dr. Sontag Bowman’s claims are dismissed,

this Court can properly issue a final injunction in this matter based on past Title IX

violations, for the benefit of the putative class members, which include past,

present, and future employees, and because no evidence exists that the Defendants

have cured their Title IX violations. Injunctive relief is proper and appropriate in

this matter.

      If Defendants were complying with Title IX, this lawsuit would not have

occurred. Plaintiffs’ request that this Court order both declaratory and injunctive

relief requiring the Defendants to comply with Title IX. Declaratory relief making

clear that the Defendants have continued to violate Title IX is relief available to all

Plaintiffs and putative class members. Even if Dr. Sontag Bowman’s claims are

dismissed, the remaining Plaintiffs and putative class members still properly

request declaratory and injunctive relief. In sum, the declaratory and injunctive

relief are not contingent on Dr. Sontag Bowman’s claims.

   5. Leave to Amend

      Alternatively, if Dr. Sontag Bowman’s allegations require more specific

statements, Dr. Sontag Bowman moves for leave to amend the Amended

Complaint. See Lopez, 203 F.3d at 1127, 1130; Fed. R. Civ. P. 15(a)(2). The proper

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procedure is not to dismiss Dr. Sontag Bowman’s claims with prejudice, but to

grant Plaintiffs leave to file an amended complaint. See id. If more specific

allegations are required to further detail the adverse actions applicable to Dr.

Sontag Bowman’s claims, the Plaintiffs request leave to file an amended

complaint.

      As it relates to the claims of the putative class, in the event that Dr. Sontag

Bowman’s claims are dismissed with prejudice, the Plaintiffs request leave to file

an amended complaint to add other named plaintiffs who remain employed at UM.

See Fed. R. Civ. P. 15(a)(2); Aguilar v. Boulder Brands, Inc., 2014 WL 4352169,

at *7 (S.D. Cal. 2014) (quoting Phillips v. Ford Motor Co., 435 F.3d 785, 787 (7th

Cir. 2006) (discussing that substitution of unnamed class members for named

plaintiffs who fall out of case for settlement or other reasons is normal and

routine).

      The notice pleading standard of Federal Rule of Civil Procedure 8(a) “relies

on liberal discovery rules and summary judgment motions to define disputed facts

and issues and to dispose of unmeritorious claims.” Bell Atlantic Corp., 550 U.S. at

585 (quoting case). Discovery in this case has not yet begun. Reasonably,

discovery will reveal evidence in further support of Dr. Sontag Bowman’s claims

and will allows those claims to be decided on the merits.

      Alternatively, granting Dr. Sontag Bowman leave to amend is appropriate.


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                                     Conclusion

       This lawsuit is about the pervasive culture and practices at the University of

Montana—Missoula that discriminate against women. Title IX’s broad

prohibitions against gender discrimination apply to Dr. Sontag Bowman’s claims.

Dr. Sontag Bowman has suffered from adverse actions by the Defendants “on the

basis of sex.” The Amended Complaint properly and comprehensively alleges the

Defendants’ adverse actions against Dr. Sontag Bowman. Dr. Sontag Bowman, as

well as the other named Plaintiffs and putative class members, have met the

procedural requirements so that they can seek their day in court and have a jury

decide whether the Defendants discriminated “on the basis of sex.”

       Plaintiffs request that the Court deny Defendants’ Motion to Dismiss in

total. Alternatively, the Plaintiffs seek leave to amend their complaint to cure any

deficiencies.

       Dated this 8th day of November, 2021.

                                               BLACKFORD CARLS P.C.

                                               /s/ Hillary P. Carls
                                               Hillary P. Carls
                                               Sherine D. Blackford
                                               Attorneys for Plaintiffs

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                             Certificate of Compliance

       Pursuant to Local Rule 7.1(d)(2)(E), I certify that this brief is printed with a
proportionately spaced Times New Roman text typeface of 14 points; is double
spaced; and the word count calculated by Microsoft Word, is 4,633, excluding the
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if any, and certificate of service.

      Dated this 8th day of November, 2021.

                                                 /s/ Hillary P. Carls
                                                Hillary P. Carls




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